    Case 1:25-cv-00716-BAH     Document 143   Filed 04/16/25   Page 1 of 27




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


_________________________________

PERKINS COIE LLP,

           Plaintiff,

     v.                                   Civil Action No. 1:25-cv-00716 (BAH)

U.S. DEPARTMENT OF JUSTICE,
FEDERAL COMMUNICATIONS COMMISSION,
OFFICE OF MANAGEMENT AND BUDGET,
EQUAL EMPLOYMENT OPPORTUNITY COMMISSION,
OFFICE OF PERSONNEL MANAGEMENT,
GENERAL SERVICES ADMINISTRATION,
OFFICE OF THE DIRECTOR OF NATIONAL INTELLIGENCE,
THE UNITED STATES OF AMERICA, and,
in their official capacities, PAMELA J. BONDI,
BRENDAN CARR, RUSSELL T. VOUGHT,
ANDREA R. LUCAS, CHARLES EZELL,
STEPHEN EHEKIAN, and TULSI GABBARD,

           Defendants.
___________________________________

               DEFENDANTS’ OPPOSITION TO PLAINTIFF’S
                  MOTION FOR SUMMARY JUDGMENT




                                      1
      Case 1:25-cv-00716-BAH   Document 143   Filed 04/16/25   Page 2 of 27




                           TABLE OF CONTENTS

INTRODUCTION …………………………………………………………………….. 3
LEGAL STANDARD…………………………………………………………………….4

ARGUMENT …………………………………………………………………………….5

 I.      The Court Should Deny Plaintiff’s Motion for Summary Judgment as to
         Section 1 of the Executive Order …………………………………………….6

 II.     The Court Should Deny Plaintiff’s Motion for Summary Judgment as to
         Section 2 of the Executive Order…………………………………………… 8

 III.    The Court Should Deny Plaintiff’s Motion for Summary Judgment as to
         Section 3 of the Executive Order.…………………………………………. 12

 IV.     The Court Should Deny Plaintiff’s Motion for Summary Judgment as to
         Section 4 of the Executive Order ………………………………………… 22

 V.      The Court Should Deny Plaintiff’s Motion for Summary Judgment as to
         Section 5 of the Executive Order …………………………………………..25

CONCLUSION…………………………………………………………………………26




                                      2
      Case 1:25-cv-00716-BAH         Document 143          Filed 04/16/25   Page 3 of 27




       Plaintiff Perkins Coie (“Perkins” or “Plaintiff”) has moved for summary judgment

(ECF 39) and contends there is no genuine dispute that President Trump’s March 6, 2025,

Executive Order 14230, titled “Addressing Risks from Perkins Coie LLP,” 90 Fed. Reg.

11781-82 (Mar. 6, 2025) (“Order” or “EO”) violates the First, Fifth, Sixth, and

Fourteenth Amendments, as well as the constitutional separation of powers. For the

reasons set forth herein, the Court should deny Plaintiff’s motion and grant Defendants’

motion to dismiss (which is incorporated by reference into Defendants’ opposition to

Plaintiff’s motion).

                                     INTRODUCTION

       As noted in the Motion to Dismiss, the Plaintiff has tried and failed to cast

Executive Order 14230 (the “Executive Order”) as “punitive” or a “sanction.” The

preamble in Section 1 and the operative sections of the Executive Order, Sections 2, 3, 4,

and 5, act within the bounds of established Executive authority.

       To begin, Section 1 is simply the speech of the Government itself. There is no

First Amendment right to silence the Government. Crediting Plaintiff’s argument carries

with it a dangerous risk of the Judiciary muzzling First Amendment protected Executive

speech.

       Section 2’s “review” of “active security clearances” to determine if they “are

consistent with the national interest” (EO 14230 § 2) falls well within the area of national

security interests where courts have held the President is due great deference.

          Similarly, Section 3 is an example of the use of the procurement power to advance

social policy, a practice that stands on firm authority.

                                               3
     Case 1:25-cv-00716-BAH         Document 143       Filed 04/16/25    Page 4 of 27




       Section 4’s direction to the Attorney General and the Chair of the Equal

Employment Opportunity Commission (“EEOC”) also falls within the prerogative of the

Executive.

       Lastly, as noted in the Motion to Dismiss, Plaintiff’s claims against Section 5’s call

for guidance on access to agency buildings and staff as well as hiring policies are simply

unripe as no agency has yet issued anything of the sort. Regardless, issuing guidance on

access to Executive Branch staff, offices, and employment—all in the service of national

security and national interests—is firmly within the prerogatives of the Executive.

       The Executive Order directs agencies to do what they should already be doing,

declines to contract with entities who act inconsistently with valid social policies

regarding discrimination, and calls for the lawful examination of security clearances and

government access of employees of Plaintiff’s firm. Plaintiff’s challenge to the

Executive Order fails on the merits. This Court should deny Plaintiff’s Motion for

Summary Judgment and grant Defendants’ Motion to Dismiss.

                                  LEGAL STANDARD

       Under Federal Rule of Civil Procedure 56(a), “[a] party may move for summary

judgment, identifying each claim or defense – or part of each claim or defense – on which

summary judgment is sought.” Fed. R. Civ. P. 56(a). “The court shall grant summary

judgment if the movant shows that there is no genuine dispute as to any material fact and

the movement is entitled to judgment as a matter of law.” Id. Once the moving party has

met this burden, to defeat the motion, the non-moving party must designate “specific

facts showing that there is a genuine issue for trial.” Mount v. Johnson, 36 F.Supp.3d 74,

                                              4
     Case 1:25-cv-00716-BAH         Document 143       Filed 04/16/25     Page 5 of 27




82 (D.D.C. 2014) (quoting Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986)). A

genuine issue of material fact exists if the evidence,” viewed in a light most favorable to

the non-moving party,” could support a reasonable jury’s verdict for the non-moving

party. Hampton v. Vilsack, 685 F.3d 1096, 1099 (D.C. Cir. 2012) (quoting McCready v.

Nicholson, 465 F.3d 1, 7 (D.C. Cir. 2006)).

                                       ARGUMENT

       Plaintiff asks the Court to hold, as a matter of law, that the EO, which directs a

review of Perkins to ensure that the Federal Government’s dealings with it are consistent

with the national security of the United States and other public interests, is

unconstitutional on its face and will cause Perkins grievous harm, both financial and

otherwise, if implemented. However, neither the law nor the facts warrant such a

conclusion. The law makes plain that the terms of the EO are well within the scope of

Presidential prerogative. Further, Perkins’ claims of injury are largely speculative and

based on a misreading of what the EO actually calls for, as a section-by-section analysis

makes clear. In its Memorandum in Support of its Motion (ECF 39-1), as in its

complaint, Perkins takes a blunderbuss approach to challenging the EO; for sake of

clarity, Defendants will discuss this case by considering the EO section-by-section when

weighing the legal merits and factual disputes.

       Amid all the furor generated in the press and elsewhere, it is important to

recognize the EO for what it is and what it is not. What it is not is the Executive Branch

of the Federal Government acting in its capacity as sovereign to punish citizens for

exercising their First Amendment Rights. What it is is the Executive Branch acting as

                                              5
        Case 1:25-cv-00716-BAH       Document 143        Filed 04/16/25     Page 6 of 27




contractor and employer, managing who it does business with and how, based on what it

believes to be in the public interest. For these reasons, the Court should deny Plaintiff’s

motion and instead grant Defendant’s Motion to Dismiss (ECF 43), currently pending

before the Court.

   I.       The Court Should Deny Plaintiff’s Motion for Summary Judgment as to
            Section 1 of the Executive Order.

         Section 1 of the Executive Order (EO) is precatory language describing Perkins

Coie’s activities as both a law firm and employer, as well as the Executive Branch’s

policy to end illegal racial discrimination. As to its legal services, Section 1 explains that

Perkins Coie was the law firm that “hired Fusion GPS,” an opposition research firm that

“manufactured a false ‘dossier’ designed to steal an election.” EO 14230 § 1. It also

describes how Perkins Coie has crossed ethical lines in election litigation such that it

received a court sanction. Id. These statements are not seriously contested and are

matters of public record.

         Section 1 is nothing other than a textbook example of protected government

speech, and Plaintiff’s attempt to enjoin it is as unlawful as it is, quite frankly, absurd.

The Supreme Court has made clear that “the Government’s own speech … is exempt

from First Amendment scrutiny.” Johanns v. Livestock Marketing Assn., 544 U.S. 550,

553 (2005). Like other governmental entities, the Executive Branch has the right to

“speak for itself.” Bd. of Regents of Univ. of Wis. System v. Southworth, 529 U.S. 217,

229 (2000). “When a government entity embarks on a course of action, it necessarily

takes a particular viewpoint and rejects others.” Matal v. Tam, 582 U.S. 218, 234 (2017).

                                               6
     Case 1:25-cv-00716-BAH         Document 143      Filed 04/16/25     Page 7 of 27




“Indeed, it is not easy to imagine how government could function if it lacked this

freedom.” Pleasant Grove City, Utah v. Summum, 555 U.S. 460, 468 (2009). “It is the

very business of government to favor and disfavor points of view.” Nat’l Endowment of

the Arts v. Finley, 524 U.S. 569, 598 (1998) (Scalia, J., concurring). But “[i]f every

citizen were to have a right to insist that no one paid by public funds express a view with

which he disagreed, debate over issues of great concern to the public would be limited to

those in private sector, and the process of government as we know it radically

transformed.” Keller v. State Bar of Cal., 496 U.S. 1, 12-13 (1990).

       Courts identify government speech by looking to history, the objective

expectations of observers, and who has control over the message. Walker v. Texas Div.,

Sons of Confederate Veterans, Inc., 576 U.S. 200, 210 (2015). Presidents have long used

the preambles of Executive Orders to express their own views, including on policies to

end racial discrimination. See, e.g., EO 8802 (June 25, 1941) (describing “policy of the

United States to encourage full participation in the national defense program by all

citizens … regardless of race” and referencing “evidence that available and needed

workers have been barred from employment … solely because of considerations of

race”). Everyone recognizes this is the President’s own speech. That is because the

President alone controls the content of his Executive Orders, which he publicly signs.

Section 1 of the EO is a paradigmatic example of government speech promoting a policy

to end racial discrimination and referencing publicly documented facts, with which

Plaintiff simply disagrees.



                                             7
      Case 1:25-cv-00716-BAH         Document 143       Filed 04/16/25     Page 8 of 27




         When individuals disagree with government speech, there is a constitutionally

prescribed remedy. “The Constitution … relies first and foremost on the ballot box … to

check the government when it speaks.” Shurtleff v. City of Bos., Massachusetts, 596 U.S.

243, 252 (2022). But courts are on dangerous ground when enjoining the speech of co-

equal branches of government. See, e.g., Zivotofsky ex rel. Zivotofsky v. Kerry, 576 U.S.

1, 30 (2015) (coordinate branch of government “may not force the President himself to

contradict his earlier statement”). The Government is “ultimately accountable to the

electorate and the political process for its advocacy,” and “[i]f the citizenry objects,

newly elected officials later could espouse some different or contrary position.” Pleasant

Grove, 555 U.S. at 468-69. This Court should reject Plaintiff’s attempt to short-circuit

the democratic process by lawsuit.

   II.      The Court Should Deny Plaintiff’s Motion for Summary Judgment as to
            Section 2 of the Executive Order.

         Plaintiff takes aim at Section 2(a) of the Executive Order, claiming that the Court

should enjoin the suspension of security clearances mandated by the Order because it is

not based on national security interests, it is based on “stale” information, and it is

allegedly improperly categorical. See Pl.’s MSJ (ECF 39-1) at 13-16. Plaintiff further

claims that the Court should disregard Section 2’s suspension of clearances “pending a

review of whether such clearances are consistent with the national interest,” because the

result of such review is a foregone conclusion. Id. at 14.

         Plaintiff’s claim should be rejected. As explained in Defendants’ Motion to

Dismiss, the process to undertake security clearance suspensions here is directly called


                                               8
     Case 1:25-cv-00716-BAH         Document 143      Filed 04/16/25     Page 9 of 27




for by the President, thereby implicating the concerns reflected in Dep’t of Navy v. Egan,

484 U.S. 518 (1988) and Lee v. Garland, 120 F.4th 880 (D.C. Cir. 2024). See Defs’ MTD

(ECF 43) at 14. Further, Plaintiff’s claim of a lack of any national security nexus is

plainly belied by the exposure of the entire Steele dossier and Fusion GPS debacle,

involving multiple falsehoods related to the matter, in the Report of Special Counsel

Durham. See Special Counsel, Report On Matters Related To Intelligence Activities And

Investigations Arising Out Of The 2016 Presidential Campaigns (May 12, 2023,

“Durham Report”), Lawson Declaration ¶ 13 & Ex. 11, at 233 & ff.; see also Defs’ Resp.

to Pl.’s Statement of Material Facts ¶¶ 75-76. Indeed, Plaintiff’s own expert appears to

acknowledge as much. See ECF 39-8 (“Leonard Report) ¶ 50. And although Plaintiff

and its expert criticize the Fusion GPS matter as “stale” information, see Pl.’s MSJ (ECF

39-1) at 14; Leonard Report ¶ 52, they cannot dispute that official confirmation of the full

scope of matter is reflected in the Special Counsel Report issued in 2023.

       Further, Plaintiff complains that the security clearance suspension is categorical

and does not take account of attorneys’ work assignments or employment status. Pl.’s

MSJ (ECF 39-1) at 14-15. This not only unreasonably demands that the President have

had full knowledge of Plaintiff’s personnel status and assignments before issuing the

Executive Order, but it also disregards the fact that any clearance suspension will be

reviewed individually “consistent with applicable law.” EO 14230 § 2(a). As explained

in Defendants’ Motion to Dismiss, any individual employee of Plaintiff with a security

clearance that is suspended will receive appropriate process with regard to maintaining or

restoring their individual security clearance. Defs’ MTD (ECF 43) at 15-16. Indeed,

                                             9
     Case 1:25-cv-00716-BAH          Document 143      Filed 04/16/25     Page 10 of 27




Defendants’ Motion outlined the requirements of “applicable law” reflected in EO 12968,

60 Fed. Reg. 40245 (1995), including the extensive process and procedural guarantees

reflected therein and in agency regulations implementing those requirements. Defs’

MTD (ECF 43) at 15-16.

         Incredibly, Plaintiff’s expert seems to discuss this follow-on review process as a

reason Section 2(a) is improperly categorical. See Leonard Report ¶¶ 44-47. The expert

relies upon a case, Greene v. McElroy, 360 U.S. 474 (1959), to support his conclusion,

but that case was decided almost 30 years prior to Egan and, moreover, was explicit that

its decision did not touch on issues of process that the President could follow or authorize

related to the termination of security clearances or consequences following therefrom.

See id. at 508. So Greene has no application with regard to Plaintiff’s challenge to

Section 2(a). Cf. Burkhart v. Wash. Metro. Area Transit Auth., 112 F.3d 1207, 1212

(D.C. Cir. 1997) (expert testimony consisting of legal conclusions cannot help trier of

fact).

         As explained in Defendants’ Motion, any clearance suspension is subject to

agency review consistent with applicable regulations. And until that happens and a

further security clearance determination is made, any dispute on such matters is

premature for judicial consideration.

         Plaintiff also attacks Section 2(b) of the Executive Order as wildly overbroad,

seeking to deprive Plaintiff of access to generally available federal services, like postal

services. See Pl.’s MSJ (ECF-39-1) at 16, 22. This level of hysteria, however, is not

warranted by Section 2(b) properly read.

                                              10
     Case 1:25-cv-00716-BAH         Document 143       Filed 04/16/25    Page 11 of 27




       Section 2(b) of the Executive Order requires the cessation of the provision of

goods, materials, and services, “including Sensitive Compartmented Information

Facilities, provided for the benefit of Perkins Coie.” Further, such cessation is to be

undertaken only “to the extent permitted by law.” Several factors rebut Plaintiff’s

complaint that Section 2(b) is wildly overbroad. First, the location of this provision in

the section of the Executive Order concerning security clearance matters, the reference to

SCIF’s, as well as the limiting language that “Government goods, property, material, and

services” subject to cessation are those “provided for the benefit of Perkins Coie,” clearly

point to such goods and services as those specifically provided to Plaintiff. Indeed, the

establishment of secure working areas for classified information at a private business may

very well involve the provision of government goods or services to ensure the area is

properly authorized to handle such information. It is those types of goods and services

that clearly are the target of Section 2(b) and not services that are provided to the public

more generally.

       Second, and relatedly, the Section 2(b) provision was not placed and is not located

in Section 5 of the Executive Order directing the promulgation of guidance regarding

access to federal facilities and engagement with federal employees. That Section 2(b) is

not co-located with the provisions in Section 5 further undercuts Plaintiff’s argument that

Section 2(b)’s intended reach is wildly overbroad.

       And third, the EO is clear that any cessation of the provision of goods and services

under Section 2(b) is to be undertaken “to the extent permitted by law.” In other words,

any service provided under applicable law to the public more generally, and not solely or

                                             11
     Case 1:25-cv-00716-BAH        Document 143       Filed 04/16/25     Page 12 of 27




specially “for the benefit of Perkins Coie,” presumptively would not be denied to Plaintiff

and its employees as the law would provide for broad provision of the service.

       For these reasons and those explained in Defendants’ Motion, Plaintiff’s challenge

to Section 2 of the Executive Order must fail.

   III.    The Court Should Deny Plaintiff’s Motion for Summary Judgment as to
           Section 3 of the Executive Order.

       Section 3 of the Executive Order concerns the Federal Government’s contracting

policies. As relevant, Section 3 issues two directives. First, “to the extent permissible by

law,” “Government contractors” shall be “require[d] … to disclose any business they do

with Perkins Coie and whether that business is related to the subject of the Government

contract.” EO 14230 § 3(a). Second, “the heads of agencies shall … take appropriate

steps to terminate any contract … for which Perkins Coie has been hired to perform any

service.” Id. § 3(b)(i).

       Perkins challenges Section 3 of the EO on the grounds that the section is

overbroad to the point of being plainly retaliatory. Plaintiff goes on to claim that any

decision made regarding such an assessment is already a “foregone conclusion” and that

the EO “does not address particular lawyers, clients or contractors.” Pl.’s MSJ (ECF 39-

1) at 17. The Court should not credit those statements. The Executive Branch, in its role

as procurer of goods and services, has a long history of directing funds to its contractors

based on its public policy objectives, including social policy. Further, Perkins ignores the

safeguard language in the EO that calls, not for blanket action on all contracts with

Perkins or its clients, but instead for individual review and consideration. Finally,


                                             12
     Case 1:25-cv-00716-BAH         Document 143       Filed 04/16/25    Page 13 of 27




Section 3 is forward looking, simply calling for the establishment of the process of

review. As of now, nobody has been deprived of anything.

       Once again it must be emphasized that when implementing Section 3, the

government is acting as a private party, not as a sovereign. Waters v. Churchill, 511 U.S.

661, 675 (1994) (plurality opinion) (“The government’s interest in achieving its goals as

effectively and efficiently as possible is elevated from a relatively subordinate interest

when it acts as sovereign to a significant one when it acts as employer.”). Furthermore,

the effort to combat racial discrimination through the procurement power has been a

feature of executive orders since at least the 1940s. Contractors Ass’n of Eastern Pa. v.

Secretary of Labor, 442 F.2d 159, 168-71 (3d Cir. 1971). Such orders enjoy the firmest

possible constitutional support. Id. at 170 (“In the area of Government procurement

Executive authority to impose non-discrimination contract provisions falls in Justice

Jackson’s first category [from Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579

(1952), discussing varying levels of deference to Executive authority]: action pursuant to

the express or implied authorization of Congress.”).

       The EO calls out Perkins for discriminatory employment activities hidden through

deceptive language, an increasingly common practice. See Students for Fair Admissions,

Inc., v. President & Fellows of Harvard College, 600 U.S. 81, 230 (2023) (“SFFA”)

(admissions programs that lack sufficiently focused and measurable objectives warranting

the use of race, unavoidably employ race in a negative manner, involve racial




                                             13
     Case 1:25-cv-00716-BAH          Document 143       Filed 04/16/25     Page 14 of 27




stereotyping, and lack meaningful endpoints cannot be reconciled with guarantees of the

Equal Protection Clause).

       Furthermore, while Section 3 relies equally on Plaintiff’s racial discrimination and

its malfeasance in election litigation for its authority, either ground is sufficient to sustain

its provisions. For example, in McGowan v. State of Maryland, 366 U.S. 420 (1961),

employees convicted of violating a Sunday business closure regulation challenged the

law as violating the First Amendment’s prohibition against the establishment of religion.

Id. at 430-31. The Court held that that the closure law was a valid exercise of the

government’s power to advance the “health, safety, recreation, and general well-being of

our citizens.” Id. at 444. The Court held that whatever may have been the purpose of a

legislature in enacting a statute, a “statutory discrimination will not be set aside if any

state of facts reasonably may be conceived to justify it.” Id. at 426. Similarly, in United

States v. O’Brien, 391 U.S. 367 (1968), the defendant challenged his conviction for

destroying a draft card on the basis that the law infringed on his First Amendment rights;

rejecting the argument, the Court held that, “[i]t it is a familiar principle of constitutional

law that this Court will not strike down an otherwise constitutional statute on the basis of

an alleged illicit legislative motive.” Id. at 383. Importantly, it should be noted that both

McGowan and O’Brien involved challenges to improper motives in the enactment of

statutes which carry true punitive sanctions—in other words, where the state is acting as

sovereign. Not so here. In this case, the Government is merely managing its contracts,

with an eye towards an undisputed federal interest. See Contractors Ass’n of E. Pa., 442


                                               14
     Case 1:25-cv-00716-BAH         Document 143       Filed 04/16/25    Page 15 of 27




F.2d at 168-71. This sovereign / private party distinction is of critical importance given

the Plaintiff’s reliance on cases such as National Rifle Association v. Vullo, 602 U.S. 175

(2024). Vullo addressed a potential First Amendment violation where the state used its

sovereign regulatory powers to threaten private actors with enforcement actions in an

attempt to discourage disfavored speech. Id. This Executive Order carries with it none of

the force of the powers exhibited in Vullo. Plaintiff cannot create a constitutional

violation by reframing the Government’s actions in forming contracts as punishment.

       The Executive’s ability to tie its procurement procedures, i.e., to choose with

whom it will do business, to the fulfillment of its public policy goals, including those

involving national security and civil rights, is also plainly displayed in statutory and

regulatory texts. For example, Title 40 of the United States Code provides for the

management of Federal properties and the organization of the General Services

Administration. Section 121(a) of title 40 specifically references the President’s ability to

prescribe policies necessary to carry out these powers. This Presidential authority has

been relied on in the past in the context of shaping social policy, most particularly with

respect to President Johnson’s Executive Order 11246, which aimed to prevent

discrimination and promote equal employment opportunity by federal contractors and

subcontractors.

       This authority is reflected in other regulations as well, most conspicuously in the

Federal Acquisitions Regulations (“FAR”) system under Title 48 of the Code of Federal

Regulations. Section 1.102(a) of that system specifically states that the purpose of the

FAR is to deliver on a timely basis the best value product or service to the customer

                                             15
     Case 1:25-cv-00716-BAH         Document 143       Filed 04/16/25    Page 16 of 27




“while maintaining the public trust and fulfilling public policy objectives.” Those

regulations additionally emphasize the fulfillment of public policy objectives. See 48

C.F.R. § 1.102(b)(4). Again, 48 CFR § 1.102(d) calls on Executive Agency staff to

review, among other things, executive orders when determining whether a purchasing

policy is valid. Finally, the performance standards under 48 CFR §102-2(d) specifically

state that government procurement decisions “must” support the attainment of public

policy goals adopted by the Congress and the President.

       Regulation of Federal contracting decisions is fully applicable downstream to a

contractor’s subcontractors or clients pursuant to 41 CFR § 60-1. Section 60-1.4(b)

specifically binds a contractor’s subcontractor or purchase to the same standard to which

the contractor itself is bound. Indeed, subpart 8 of this subsection specifically cites to EO

11246, under which President Johnson forbade Federal contracts to entities debarred for

failure to adhere to the equal employment opportunity policies outlined therein.

       These regulations confirm that the President possesses wide discretion in

managing Federal procurement and contracts based on the President’s public policy

objectives, including those related to national security and civil rights. This Executive

Order is designed to address diversity in the Federal contracting process. Diversity

initiatives have always been legally suspect. See Ricci v. DeStefano, 557 U.S. 557, 594

(2009) (Scalia, J., concurring) (“Would a private employer not be guilty of unlawful

discrimination if he refrained from establishing a racial hiring quota but intentionally

designed his hiring practices to achieve the same end? Surely he would.”). This is

especially true after the Supreme Court’s decision in SFFA. As the Court explained, it

                                             16
     Case 1:25-cv-00716-BAH        Document 143       Filed 04/16/25     Page 17 of 27




has “time and again forcefully rejected the notion that government actors may

intentionally allocate preference to those ‘who may have little in common with one

another but the color of their skin.’” SFFA, 600 U.S. at 220 (citing Shaw v. Reno, 509

U.S. 640, 647 (1993)). SFFA could not have been clearer that applicants must be judged

on their own merits, rather than as ambassadors for various identity groups: “The entire

point of the Equal Protection Clause is that treating someone differently because of their

skin color is not like treating them differently because they are from a city or from a

suburb, or because they play the violin poorly or well.” Id. Furthermore, Courts in this

Circuit routinely give great deference to Executive Orders addressing the nexus between

social policy and the procurement power. See, e.g., UAW-Labor Employment & Training

Corp. v. Chao, 325 F.3d 360, 366-67 (D.C. Cir. 2003).

       Perkins appears to have fallen short of these principles. Plaintiff has

acknowledged that it has “set formal, measurable targets for increasing diversity in

recruitment, retention, promotion, and/or leadership” with a “strategic focus and

intentionality” on “the advancement of our historically underrepresented attorneys.”

Perkins Coie 2023 Vault Law Firm Diversity Survey, Lawson Declaration ¶ 2 & Ex. 2, at

7. It has done this in large part through its adoption of the “Mansfield Rule,” a

certification process overseen by an organization called “Diversity Labs,” which seeks to

“diversify the power structure of law firms and legal departments through appointments,

elections, and promotions to influential leadership committees and roles.” Diversifying

Leadership: How the Mansfield Rule is Driving Change, Lawson Declaration ¶ 7 & Ex.

5. Perkins signed the “Mansfield Rule” in 2019, and it continues to abide by the

                                             17
     Case 1:25-cv-00716-BAH        Document 143       Filed 04/16/25     Page 18 of 27




requirements of the yearly certification process. This diversification is achieved “by

broadening who is considered” for hire. Id. Diversity Lab rewards not only law firms

that adhere to the “rigorous annual certification process and report their verified data” but

also celebrates the firms that achieve “certification plus” which “evaluates whether they

have achieved diversity in leadership, and not only considered it.” Id. Although the

certification criteria “grow increasingly challenging each year,” there are a few “core

principles” that firms must satisfy to achieve certification each year. Diversity Lab, More

than 360 Law Firms Achieve Mansfield Certification for 2023-24, Marking a Double-

Digit Increase in the Push for Leadership Diversity, Lawson Declaration ¶ 9 & Ex. 7

(“Diversity Lab press release”). One of those is the requirement that “at least 30% of the

lawyers considered” for a role consist of “underrepresented lawyers across 75% of

opportunities.” Id. This includes “all high-level leadership committees and roles,” and

the requirement has expanded to include not only women and historically

underrepresented racial and ethnic groups but also LGBTQ+ lawyers and lawyers with

disabilities. Lawson Declaration ¶ 7 & Ex. 5.

       Perkins Coie has achieved Mansfield certification for seven years in a row, and it

was celebrated in 2024 for achieving “certification plus” status. See Diversity Lab press

release, Lawson Declaration ¶ 9 & Ex. 7. Participation in the Mansfield certification

process requires significant data sharing, including annual submissions signed by each

firm’s managing partner. See id. Mansfield also touts the increase in “underrepresented

racial and ethnic equity partners” of 16% versus 41% between “Mansfield” and “non-

Mansfield” firms, respectively, and the number of “women equity partners at Manfield

                                             18
     Case 1:25-cv-00716-BAH        Document 143       Filed 04/16/25     Page 19 of 27




Certified firms growing at nearly three times the rate of non-Mansfield firms,” meaning

that implementing the criteria results in tangible differences in racial and gender

demographics of these participating firms, such as Perkins Coie. Data Shows Mansfield

Firms Are Adding Diverse Leaders Much Faster, Lawson Declaration ¶ 8 & Ex. 6. In

short, firms that utilize and implement the Mansfield certification process hire and

promote more non-white and female attorneys than they otherwise would by taking race,

sex, and other protected characteristics into account when making hiring and promotion

decisions. Diversity Labs directly cited a New York State Bar Association Task Force

report on “advancing diversity” as a study of the program’s efficacy. Diversity Lab press

release, Lawson Declaration ¶ 9 & Ex. 7, at 2. In that very report, the authors

acknowledge that Mansfield does increase diversity in law firm ranks but that “there may

be some risk associated” with diversity programs, such as Mansfield, in the wake of

SFFA. Report and Recommendations of the New York State Bar Association Task Force

on Advancing Diversity, Lawson Declaration ¶ 10 & Ex. 8, at 74. In a “zero-sum”

situation, such as hiring, “[a] benefit provided to some applicants but not to others

necessarily advantages the former group at the expense of the latter.” SFFA, 600 U.S. at

218-19.

       Rather than leveling or equalizing the playing field, Perkins Coie hires and

promotes attorneys on the basis of protected characteristics in service of “diversity,

equity, and inclusion.” But the Supreme Court made clear in SFFA that decisionmakers

must consider an individual on his or her own merits and that utilizing race, sex, or any

other protected characteristic as a plus factor is evidence that some applicants are treated

                                             19
     Case 1:25-cv-00716-BAH           Document 143        Filed 04/16/25      Page 20 of 27




worse than others because of that characteristic. SFFA, 600 U.S. at 218-19. On this

basis, the United States is justified in using its procurement power to review such

practices and to decline to contract with those that do. Contrary to Plaintiff’s claims, a

review of employment practices is not a sanction. This use of the procurement power

may be a decision that Plaintiff dislikes, but the President’s decision to advance SFFA is

well within the prerogative of the Executive Branch.

       Second, Plaintiff’s description of contract reviews pursuant to Section 3 as leading

to “preordained” or “foregone” conclusions is, once again, wildly overblown and flatly

wrong. The plain language of the Section binds all government contracting agency

decisions within the bounds permitted by law. Indeed, each separate subpart of the

Section specifically includes such restrictive language, and Section 3(b)(ii) goes further

in directing Agency Heads to align their funding decisions with the Executive’s goals and

priorities “as they deem appropriate.”

       Which brings this entire matter around to the third point: ripeness. These

provisions call for government contracting agencies to begin the process of review of any

contracts between the government and Perkins or entities doing business with it in

accordance with the policies and findings set out in Section 1. That process has not

started. Again, nobody has been deprived of or denied anything. Allegations of damage

or harm at this point are purely speculative. At some future point, the contracting

agencies will make their decisions regarding that status of Perkins’ contracts. 1 At that


11
  In fact, as noted in the MTD, it is unclear if Perkins even has any contractual relationship with
the Federal government for the provision of goods or services.
                                                20
     Case 1:25-cv-00716-BAH          Document 143        Filed 04/16/25     Page 21 of 27




point, if Perkins believes that such decisions are not “permissible by law,” it should

challenge such decisions at that time.

       Finally, Section 3 does not impermissibly burden the speech or association rights

of the firm or its clients. Plaintiff relies on authorities addressing the constitutional rights

of private individuals to donate to charitable organizations or associate as members in

political organizations. Pl.’s MSJ (ECF 39-1) at 20-21 (citing Americans for Prosperity

Found. v. Bonta, 594 U.S. 595 (2021); NAACP v. State of Ala. ex rel. Patterson, 357 U.S.

449 (1958)). But here, Section 3 of the Executive Order applies only to a limited number

of government contractors, which are already subject to substantial disclosure

requirements as a condition of doing business with the federal government. They must

merely identify business with Plaintiff for the limited purpose of facilitating agency

review of government contracts with Plaintiff. This is narrowly tailored to Section’s

stated goal. Nor does Section 3 interfere with attorney-client privilege. As this Court has

recognized, generally “the attorney-client privilege does not protect from disclosure the

‘identity of the client ... and the general purpose of the work performed.’” Cause of

Action Inst. v. U.S. Dep’t of Just., 330 F. Supp. 3d 336, 350 (D.D.C. 2018) (quoting

United States v. Naegele, 468 F.Supp.2d 165, 171 (D.D.C. 2007)). Law firms may be

required to disclose the identity of a client yet still enjoy the full benefits of attorney-

client privilege. See, e.g., Att’y Gen. of U.S. v. Covington & Burling, 411 F. Supp. 371

(D.D.C. 1976). Indeed, firms are regularly required to disclose the identity of clients in

contexts raising national security concerns. See, e.g., Foreign Agents Registration Act,


                                               21
     Case 1:25-cv-00716-BAH          Document 143       Filed 04/16/25     Page 22 of 27




Pub. L. 75-583, 52 Stat. 631 (codified at 22 U.S.C. §§ 611 et seq.). This additional

disclosure requirement limited to a subset of government contractors is far afield from the

core associational rights at issue in political association and charitable donation cases.

         For all these reasons, the Court should reject Plaintiff’s challenge to Section 3 of

the Executive Order.

   IV.      The Court Should Deny Plaintiff’s Motion for Summary Judgment as to
            Section 4 of the Executive Order.

         Plaintiff claims that Section 4, which initiates the EEOC’s “unlawful and retaliatory

‘investigation,’” retaliates against the firm for having previously exercised its First

Amendment rights in support of DEI. Compl. (ECF 1) ¶¶ 126-35, 144-56; Pl.’s MSJ (ECF

39-1) at 40-41. This claim too must fail.

         First, any supposed injury of Plaintiff is not traceable to the Executive Order. To

repeat, Section 4 merely directs the “review” and “investigat[ion]” of “the practices of

representative large, influential, or industry leading law firms” for consistency with the

civil rights laws. EO 14230 § 4. That is already what the EEOC is supposed to be doing.

The EEOC is already “empowered … to prevent any person from engaging in any unlawful

employment practice” under the civil rights laws. 42 U.S.C. § 2000e-5(a). The EEOC is

already required to make “report[s] … to the President … on the cause of and means of

eliminating discrimination,” including in any industry the President directs the EEOC to

review. Id. § 2000e-4(e). And members of the EEOC are already authorized to file charges

against “employer[s] … engaged in an unlawful employment practice.” Id. § 2000e-5(b).



                                               22
     Case 1:25-cv-00716-BAH         Document 143       Filed 04/16/25     Page 23 of 27




In other words, even if the President never issued the Executive Order, Plaintiff would still

be subject to inquiries by the EEOC—just like any other employer in the country.

       Second, Plaintiff’s proposed remedy demonstrates that Perkins’ supposed injury is

not redressable. Plaintiff asks for an injunction against EO § 4—that is, Plaintiff wants this

Court to enjoin the EEOC from “review[ing] the practices of representative large,

influential, or industry leading law firms for consistency with Title VII.” That is a

remarkable thing to ask for, yet it is required by Plaintiff’s argument. If Plaintiff is harmed

merely because the EEOC is “review[ing]” its employment practices, then the only solution

is for Plaintiff to be granted immunity from Title VII liability—or indeed any EEOC

inquiry whatsoever. That is simply not an appropriate form of relief, and Plaintiff’s claim

fails for this reason as well.

       Third, Perkins’s First Amendment retaliation claim fails on the merits, because the

firm cannot show the requisite causal link. First Amendment retaliation claims require

plaintiff to show (1) plaintiff engaged in conduct protected by the First Amendment; (2)

defendant took retaliatory action against plaintiff, sufficient to deter an individual in

plaintiff’s position from speaking again; and (3) a causal connection between the speech

and the retaliation. Aref v. Lynch, 833 F.3d 242, 258 (D.C. Cir. 2016). First Amendment

retaliation claims are analyzed under a but-for causation standard. Houston Community

College Sys. v. Wilson, 595 U.S. 468, 477 (2022).

       Just as Perkins lacks standing, so too does it fail to show a causal link. Even

before the Executive Order was issued, this Administration had begun taking steps


                                              23
      Case 1:25-cv-00716-BAH        Document 143       Filed 04/16/25     Page 24 of 27




consistent with the view that certain DEI practices, misapplied, could constitute a

violation of Title VII. See EO 14173, 90 Fed. Reg. 8633 (Jan. 31, 2025) (“Ending Illegal

Discrimination and Restoring Merit-Based Opportunity”). EO 14173, issued more than a

month before the challenged Executive Order, directed, among other things, Federal

agencies to take appropriate action to “advance in the private sector” merit-based

opportunity, EO 14173 § 4(a), and to enforce civil rights laws and combat illegal private-

sector DEI policies and practices, id. § 2; see also id. § 4(b) (requiring plan for

compliance investigations going after illegal discrimination in large, private entities).

The inquiry is also in line with EEOC and DOJ priorities, as both agencies announced,

well in advance of the issuance of the EO at issue here, that “rooting out unlawful DEI-

motivated race and sex discrimination” was among their top concerns. See EEOC,

President Appoints Andrea R. Lucas EEOC Acting Chair (Jan. 21, 2025), Lawson

Declaration ¶ 14, Ex. 12; Memorandum from Attorney General, Re: Ending Illegal DEI

and DEIA Discrimination and Preferences (Feb. 5, 2025), Lawson Declaration ¶ 15, Ex.

13.

       To put it simply, Section 4 directs the EEOC to do what it already should be doing.

Inquiring into employment practices for consistency with Title VII is the very point of the

EEOC. This Court should refuse to give Perkins a blanket exemption from the civil

rights laws.




                                              24
        Case 1:25-cv-00716-BAH         Document 143        Filed 04/16/25     Page 25 of 27




      V.      The Court Should Deny Plaintiff’s Motion for Summary Judgment as to
              Section 5 of the Executive Order.

           Finally, Perkins repeats its objection that Section 5 of the EO limits “all” Firm

personnel from access to Federal building, engagement with Federal employees, or

(absent a waiver), being hired as Federal employees themselves. Additionally, it alleges

that Section 5 impermissibly interferes with Perkins’ attorney-client relationships. Once

again, Perkins’ objection mischaracterizes the EO’s language and claims harm

prematurely.

           To begin, the text of Section 5 simply does not limit any Perkins employee, much

less all of them, from such access and activities. Instead, it calls for agency heads to

provide guidance as to whether or when to limit Perkins employees from entering a

government building; whether or when to limit Government employees from engaging

Perkins personnel in their official capacity; whether or when to bar Perkins employees

from being hired into government employment. What is more, such guidance is not

arbitrary but is to be consistent with the national security and other government interests

articulated throughout the language of the EO and again is limited to the extent

“permissible by law.” What that guidance might consist of remains to be seen. Surely

some Federal facilities, contacts, and employment positions require tighter restrictions

than others based on national security concerns. Likewise, depending on relevant factors,

the suitability of individual Perkins employees within such contexts likely would differ.

That is what guidance is for.2 However, nightmare scenarios such as all Perkins attorneys


2
    Thus, Perkins’ argument about Section 5 being impermissibly vague is also meritless.
                                                 25
     Case 1:25-cv-00716-BAH            Document 143    Filed 04/16/25     Page 26 of 27




being barred from courtroom practice, all staff being banned from going to the post-

office, and no Perkins employees ever being allowed to join the Federal workforce is,

currently, the stuff of imagination.

       Which again goes to the point that Perkins’ objections are premature. No such

guidance has been issued—and the merits of Perkins’ arguments necessarily depend on

what that guidance says. No decisions about individual or groups of Perkins employees

regarding Federal building access, Federal government contact, or Federal hiring have

been reached by any agency heads. When such guidance is issued, when and if Perkins

employees are impacted by it, then will be the proper time to weigh the merits of such

decisions. And as to Perkins’ representation of its clients, Defendant has already pointed

out that the constitutional right to choice of counsel is not absolute, but is balanced

against the government’s interest in the fair, orderly, and effective administration of the

courts, and qualified by the need to avoid undermining public confidence in the integrity

of the legal system. Defs’ MTD (ECF 43) at 31.

                                        CONCLUSION

       For all the reasons stated herein, the Court should deny Plaintiff’s motion for

summary judgment and instead grant Defendants’ motion to dismiss.




                                              26
   Case 1:25-cv-00716-BAH   Document 143     Filed 04/16/25    Page 27 of 27




Dated: April 16, 2025            Respectfully submitted,
       Washington, D.C.

                                 CHAD MIZELLE
                                 Acting Associate Attorney General


                                 /s/ Richard Lawson
                                 RICHARD LAWSON
                                 Deputy Associate Attorney General
                                 950 Pennsylvania Avenue, NW
                                 Washington, DC 20530
                                 Telephone: (202) 445-8042

                                 Counsel for Defendants




                                    27
